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                    GLOBAL            GAJ\UNG CA-G.R. SP NO. 134340
                    PHILIP.PINES LLC,

                                                  Pefihoner,                    1\1 etn bers:
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                                    - versus -
                                                                               DI1'v1AA1\1PAO, J. B. Chairperson,                                  1

                    BLOOMBERRY       RESORTS                                   'SORONGON1 E. D., &
                    AND     HOTELS       INC.,,                                lVIA.NAHAN, C. S,, JJ,
                    SURESTE       PROPERTIES,
                    INC., PRU'vJE METROLINE
                    HOLDINGS INC.r                                             Pron1ulgated:

                                                Respondents.                         2 1 NOV 2015


                                                  RESOLUTION
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                   SALANDANAN "1\1.ANAHAN, C. 1 ].:

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                   Global Gan1ing Philippines LLC's (GGAI'v1) Petition for Review on
                   Certiorari2 and petitioner 1 s "lVIANIFEST ATlON AND .l'v10TION TO
                   Hv1PLEiv1ENT ORDER IN RESPECT OF CLAII\-1°l\NTS 1 INTERI.ivl
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                   Jv1EASURES' APPLICATION 1 ISSUED BY Tl-IE TRIBUNAL
                   CONSTITUTED IN ACCORDANCE \NITI-I A f.vlANAGEtvlENT
                   SERVICES AGREEMENT DATED 9 SEPTElVIBER 2011 AND TflE




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Subject to Arbitration Confidentiality Orders                                                                                                          BLOOM_0101223
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